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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  WILLOW SPRINGS OPERATOR, LLC,
                                                 Civil Action No.:
                          Plaintiff,

 v.                                                       NOTICE OF REMOVAL

 USI INSURANCE SERVICES, LLC; SEAN
 HOOD; LISA OLSON; HEALTH CAP
 RRG; CHELSEA-RHONE, LLC; and
 HEALTH CARE INDUSTRY LIABILITY
 RECIPROCAL INSURANCE COMPANY,
 A RISK RETENTION GROUP,

                          Defendants.

TO:      THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF NEW JERSEY

         PLEASE TAKE NOTICE that Defendants, USI Insurance Services, LLC, Sean Hood,

and Lisa Olson (Noticing Defendants), hereby remove the above entitled action from the

Superior Court of New Jersey, Law Division, Ocean County, to the United States District Court

for the District of New Jersey, pursuant to 28 U.S.C. § 1332(a)(1) and 28 U.S.C. § 1441, et seq.

and alleges as follows:

         1.      An action has been commenced and is now pending in the Superior Court of New

Jersey, Law Division, Ocean County, entitled Willow Springs Operator. LLC v. USI Insurance

Services. LLC, et al.. bearing Docket Number OCN-L-2849-18.           See Plaintiffs Complaint

attached hereto as Exhibit A.

        2.       On December 4, 2018, Defendant USI Insurance Services, LLC was served with

the Complaint.




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          3.    Based on the foregoing, Defendants USI Insurance Services, LLC, Sean Hood,

and Lisa Olson have filed this Notice of Removal within thirty (30) days of receipt as required

by U.S.C. § 1446(b). No further proceedings have occurred in this action.

          4.    The Complaint alleges, inter alia, that the aforementioned Defendants assisted

Plaintiff in the purchase of an insurance policy without advising that the policy did not cover

prior or pending claims. See Plaintiffs Complaint attached hereto as Exhibit A at ^[7 to 9. On

March 28, 2017, Mr. Paul Lattarulo filed a law suit against Plaintiff in Ocean County, New

Jersey. That suit sought damages arising from multiple incidents where Mr. Lattarulo fell at

Plaintiff s assisted living facility and sustained “serious and debilitating personal injuries and

losses.” See Lattarulo Complaint attached hereto as Exhibit B. The Lattarulo complaint asserts

claims of negligence, negligence per se, negligent supervision and hiring, violations of resident

rights, violations of the Consumer Fraud Act, and liability attributable to Willow Springs

Operator. Id. Lattarulo seeks compensatory and punitive damages from Defendant Willow

Springs Operator. Upon receipt of the Lattarulo suit, Willow Springs contacted Health Cap

RRG, which denied coverage.

         5.     In this suit, Willow Springs seeks damages for its full exposure in the Lattarulo

suit as well as the legal fees expended to defend that suit. The controversy in this action is

between Plaintiff, a limited liability company incorporated in the State of New Jersey with a

principal place of business in New Jersey, and Noticing Defendants and Co-Defendants who are

citizens of a foreign States, specifically:

                a.      USI Insurance Services, LLC, is a limited liability company organized

         under the laws of the State of Delaware and has its principal place of business in New




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         York State and is therefore a citizen of Delaware and New York for the purposes of

         Diversity Jurisdiction.

                b.      Sean Hood resides in the State of New Hampshire and is, therefore, a

         citizen of New Hampshire for the purposes of Diversity Jurisdiction.

                c.      Lisa Olson resides in the State of Massachusetts and is, therefore, a citizen

         of Massachusetts for the purposes of Diversity Jurisdiction.

                d.      Co-Defendant Health Cap RRG is a corporation organized under the laws

         of the District of Columbia and has its principal place of business in the State of

         Michigan and is, therefore, a citizen of the District of Columbia and the State of

         Michigan for the purposes of Diversity Jurisdiction.

                e.      Co-Defendant Health Care Industry Liability Reciprocal Insurance

         Company, A Risk Retention Group is a corporation organized under the laws of the

         District of Columbia and has its principal place of business in the State of Michigan and

         is, therefore, a citizen of the District of Columbia and the State of Michigan for the

         purposes of Diversity Jurisdiction.

                f.      Co-Defendant Chelsea-Rhone, LLC is a limited liability company

         organized under the laws of the State of Michigan and has its principal place of business

         in the State of Michigan and is, therefore, a citizen of the State of Michigan for the

         purposes of Diversity Jurisdiction.

                g.      As noted above, Plaintiff claims compensatory damages, including, but

         not limited to, indemnification for its exposure to the Lattarulo claims of bodily injury, ,

         punitive damages, attorney’s fees, and other fees.             Accordingly, the amount in

         controversy exceeds the statutory jurisdictional amount of $75,000.00.


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          6.    The parties moving for removal consent thereto. The remaining parties, Health

Cap RRG, Chelsea-Rhone, LLC and Health Care Industry Liability Reciprocal Insurance

Company, a Risk Retention Group, have, to the best of noticing parties’ knowledge, not been

served with the Complaint.

          7.    There is diversity of citizenship between Plaintiffs and Defendants in this action,

and the amount in controversy exceeds $75,000.

          8.    This Notice is timely filed because it was filed within 30 days of December 4,

2018, the date Plaintiffs served its Complaint on USI Insurance Services, LLC.

          9.    By reason of the foregoing, this action is within the Court’s removal jurisdiction,

pursuant to 28 U.S.C. § 1441 and 28 U.S.C, § 1332.

          10.   Written notice of the filing of this Notice of Removal has been served upon

Plaintiffs counsel as required by law.

          11.   Therefore, Defendants USI Insurance Services, LLC, Sean Hood, and Lisa Olson

respectfully requests that this action be removed from the New Jersey Superior Court, Ocean

County, to this Court in the United States District Court for the District of New Jersey, pursuant

to 28 U.S.C. § 1332(a)(1) and § 1441(a).

          12.   A true copy of this Notice of Removal has been filed with the Clerk of the

Superior Court of New Jersey, Law Division, Ocean County, as required by law.

         WHEREFORE, Defendants USI Insurance Services, LLC, Sean Hood, and Lisa Olson

pray that this action be removed from the Superior Court of New Jersey, Law Division, Ocean

County to the United States District Court for the District of New Jersey and that the United

States District Court, District of New Jersey issue such orders and process as are necessary to

preserve its jurisdiction over this matter.


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                                         Respectfully submitted,
                                         WHITE AND WILLIAMS LLP
                                         Attorneys for Defendant,
                                         USI Insurance Services, LLC,
                                         Sean Hood, and Lisa Olson




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Dated: January 2, 2019




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